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                                                             United States District Court
                                                               Southern District of Texas

                                                                  ENTERED
                                                                  June 02, 2022
                                                               Nathan Ochsner, Clerk
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 4-        Stark says she was authorized to change the password. On May 2.0, 2.0I9,
           at 4: 3 I p.m., ABC Pediatric told her not to continue coming to the clinic.
           It is unclear at what time she changed the password. If she changed the
           password after she was told to leave, it would be unauthorized. If she
           changed the password beforehand, she may have had authorization as an
           employee of the clinic. At this stage, it is a fact issue resolved in favor of
           ABC Pediatric as the nonmoving party. It is adequately pleaded.


 5.        Stark moved to dismiss ABC Pediatric' s state law claim for unauthorized
           access. Texas law allows a cause of action for harmful access by a
           computer.2 It pleaded that S tark changed the password without
           authorization. It pleaded that Stark damaged the clinic's business because
           without the password, it could not access the computer. This claim is
           remams.


 6.        Because the unauthorized computer access claims are adequately pleaded
           and survive,Jessica Stark's, motion to dismiss is denied. (7) (II)



           Signed onJune    2-, , 2.02.2., at Houston, Texas.




                                                   United States DistrictJudge




 2
     Texas Penal Code Section 33.02.(a).
